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                  EXHIBIT 5
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                  9 Attorneys for WAYMO LLC

                10
                                                   UNITED STATES DISTRICT COURT
                11
                                   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                12
                        WAYMO LLC,                               CASE NO. 3:17-cv-00939-WHA
                13
                                      Plaintiff,                 DECLARATION OF JAMES JUDAH
                14                                               IN SUPPORT OF WAYMO’S RESPONSE
                             vs.                                 TO NOTICE REGARDING U.S.
                15
                                                                 ATTORNEY LETTER (DKT. 2260-1)
                16 UBER TECHNOLOGIES, INC.;
                   OTTOMOTTO LLC,
                17
                                                                 REDACTED VERSION OF DOCUMENT
                             Defendants.
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                                                                                    Case No.3:17-cv-00939-WHA
01980-00104/9704369.2                                                              DECLARATION OF JAMES JUDAH
                        Case 3:17-cv-00939-WHA Document 2282-6 Filed 11/27/17 Page 3 of 4




                  1          I, James Judah, hereby declare as follows:

                  2          1.     I am a member of the bar of the State of California and an associate with Quinn

                  3 Emanuel Urquhart & Sullivan, LLP, counsel for Plaintiff Waymo LLC (“Waymo”). I make this

                  4 declaration of personal, firsthand knowledge, and if called and sworn as a witness, I could and would

                  5 testify competently as follows.

                  6          2.     On November 25, 2017, my colleague John McCauley and I reviewed an unredacted

                  7 version of the letter from counsel for Richard Jacobs to Angela Padilla, dated May 5, 2017 (the

                  8 “Jacobs Letter”) at the San Francisco office of Morrison & Foerster LLP (“MoFo”). Shortly before

                  9 midnight on November 24, the Jacobs Letter was produced in redacted form and designated
                10 “Attorneys’ Eyes Only” by Defendant Uber Technologies Inc. as UBER00326333.

                11           3.     The portions of the Jacobs Letter that had been redacted from UBER00326333 allege

                12 numerous instances of

                13                                                                                                      The

                14 conduct described in these portions of the Jacobs Letter

                15                  .

                16           4.     The redacted portions of the Jacobs Letter also allege that at least some of this conduct

                17 was directed and approved by

                18           5.     The redacted portions of the Jacobs Letter allege that this conduct was engaged in by
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                                                                       -2-                        Case No. 3:17-cv-00939-WHA
01980-00104/9704369.2                                                                             DECLARATION OF JAMES JUDAH
                        Case 3:17-cv-00939-WHA Document 2282-6 Filed 11/27/17 Page 4 of 4




                  1            I declare under penalty of perjury under the laws of the State of California that the

                  2 foregoing is true and correct.

                  3
                        DATED: November 27, 2017                        /s James D. Judah
                  4                                                     James Judah
                  5

                  6

                  7                                      SIGNATURE ATTESTATION
                  8            Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
                  9
                        filing of this document has been obtained from James Judah.
                10

                11                                                   /s/ Charles K. Verhoeven
                                                                       Charles K. Verhoeven
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01980-00104/9704369.2                                                                              DECLARATION OF JAMES JUDAH
